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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

CLAUDIA COTE, M.D.,
DIANE T. GOWSKI, M.D.,
SALLY B. ZACHARIAH, M.D.,
ROXANNE LAINHART,

Plaintiffs,
v. Case No. 8:07-ev-1524-T-TBM
ERIC SHINSEKI, Secretary,
DEPARTMENT OF VETERANS
AFFAIRS,

Defendant. |

 

VERDICT
A. Regarding Plaintiff Dr. Diane Gowski:
Do you find from a preponderance of the evidence:
l. On the retaliation claim of Dr. Gowski, that an adverse employment action or

actions occurred that were causally related to the Plaintiff's statutorily protected

activities?

Answer Yes or No Y ( \

Ifyou answered No to 1, please skip to 4. If vou answered Yes to 1, please answer ?.
Pp if ] Pp

2. That the Defendant would have taken the adverse employment action or actions

for other reasons even in the absence of the Plaintiffs statutorily protected activity?

Answer Yes or No Y ¢ S
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[If you answered Yes to 2, please skip to 4. If you answered No to 2, please answer 3.

3. That the Plaintiff suffered damages which were a proximate or legal result of the

adverse employment action or actions?

Answer Yes or No N

If you answered Yes to 3, you will address the matter of damages in question 11 below after you
have answered the questions regarding Dr. Gowski's remaining claims.

Please answer question 4.

Do you find from a preponderance of the evidence:
4. On the retaliatory hostile work environment claim of Dr. Gowski. was the
Plaintiff subjected to a hostile or abusive work environment because she engaged in good

faith in statutorily protected EEO activity?

Answer Yes or No Us ¢

Ifyou answered No to 4, please skip to 7. If you answered Yes to 4, please answer 5.

5. That such hostile or abusive work environment was created or permitted by a

supervisor with immediate or successively higher authority over the Plaintiff?

Answer Yes or No U Q S

If you answered No to 5, please skip to 7. If vou answered Yes to 5, please answer 6.

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6. That the Plaintiff suffered damages as a proximate or legal result of such hostile

or abusive work environment?

Answer Yes or No Y q \

If you answered Yes to 6, you will address the matter of damages in question 11 below afier you
have answered the questions regarding Dr. Gowski's remaining claim.

Please answer question 7.

Do you find from a preponderance of the evidence:
7. On the religious discrimination claim of Dr. Gowski that the Defendant took an
adverse employment action or actions against Plaintiff?

Answer Yes or No lA \ O

If you answered Yes to 7, please answer 8.
If you answered No to 7, you need not answer 8, 9, 10 or 11 on this claim. However, if you
answered Yes to 3 or 6 above, you will address the matter of damages in question 11,

8. That the Plaintiffs religious belief was a substantial or motivating factor that
prompted the Defendant to take that action?

Answer Yes or No N,

Ifyou answered Yes to 8, please answer 9.
If you answered No to 8, you need not answer 9, 10 or 11 on this claim. However, if you
answered Yes to 3 or 6 above, you will address the matter of damages in question 11 below.
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9. That the Defendant would have taken the adverse employment action or actions
against the Plaintiff for other reasons even in the absence of consideration of the
Plaintiff's religious belief?

Answer Yes or No NX

Ifyou answered No to 9, please answer 10.
Ifyou answered Yes to 9. you need not answer 10 or 11 on this claim. However, if you answered
Yes to 3 or 6 above, you will address the matter of damages in question 11 below.

10. That the Plaintiff suffered damages which were a proximate or legal result of the

adverse employment action or actions?

Answer Yes or No \

Ifyou answered Yes to 3, 6, or 10, please answer 11, Otherwise, please skip to section B.

11. What amount of damages. if any. do you find that Plaintiff. Dr. Diane Gowski. is

entitled to recover:

a) for her net loss of wages to the date of trial?
s_ |b,000
b) for emotional pain and mental anguish?

s_ 350, 000 _
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B. Regarding Plaintiff Dr. Sally Zachariah:

Do you find from a preponderance of the evidence:
l. On the retaliation claim of Dr. Zachariah. that an adverse employment action or
actions occurred that were causally related to the Plaintiff's statutorily protected

activities?

Answer Yes or No Y Q §

If you answered No to 1, please skip to 4. If you answered Yes to 1, please answer 2.

2. That the Defendant would have taken the adverse employment action or actions
for other reasons even in the absence of the Plaintiffs statutorily protected activity?

Answer Yes or No Uk S

Ifyou answered Yes to 2, please skip to 4. If you answered No to 2, please answer 3.

3. That the Plaintiff suffered damages which were a proximate or legal result of the

adverse employment action or actions?

Answer Yes or No NX

If you answered Yes to 3, you will address the matier of damages in question 11 below after you
have answered the questions regarding Dr. Zachariah’'s remaining claims.

Please answer question 4.
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Do you find from a preponderance of the evidence:
4, On the retaliatory hostile work environment claim of Dr. Zachariah, was the
Plaintiff subjected to a hostile or abusive work environment because she engaged in good

faith in statutorily protected EEO activity?

Answer Yes or No Y eS

If you answered No to 4, please skip to 7. If you answered Yes to 4, please answer 53.

5. That such hostile or abusive work environment was created or permitted by a

supervisor with immediate or successively higher authority over the Plaintiff?

Answer Yes or No 4 e S

Ifyou answered No to 5, please skip to 7. If you answered Yes to 5, please answer 6.

6. That the Plaintiff suffered damages as a proximate or legal result of such hostile

or abusive work environment?

Answer Yes or No Ue S

Ifyou answered Yes to 6, you will address the matter of damages in question 11 below after you
have answered the questions regarding Dr. Zachariah’s remaining claim.

Please answer question 7.

 
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Do you find from a preponderance of the evidence:
7. On the gender discrimination claim of Dr. Zachariah, that the Plaintiff was

denied a promotional opportunity by the Defendant?

Answer Yes or No lA O

Ifyou answered Yes to 7, please answer 8.
If you answered No to 7, you need not answer 8, 9, 10 or 11 on this claim. However, if you
answered Yes to 3 or 6 above, you will address the matter of damages in question 11.

8. That the Plaintiff's gender was a substantial or motivating factor that prompted
the Defendant to take that action?

Answer Yes or No NN,

If you answered Yes to 8, please answer 9.
If you answered No to 8, you need not answer 9, 10 or 11 on this claim. However, if you
answered Yes to 3 or 6 above, you will address the matter of damages in question 1] below.

9. That the Plaintiff would have been denied the promotional opportunity for other
reasons cven in the absence of consideration of the Plaintiff's gender?

Answer Yes or No ‘\

Ifyou answered No to 9, please answer 10.
Ifyou answered Yes to 9, you need not answer 10 or 11 on this claim. However. if you answered

Yes to 3 or 6 above, you will address the matter of damages in question 11 below.
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10. That the Plaintiff suffered damages which were a proximate or legal result of the

denial of the promotional opportunity?

Answer Yes or No NN

If you answered Yes to 3, 6, or 10, please answer 11. Otherwise, please skip to section C.

11. | What amount of damages, if any, do you find that Plaintiff, Dr. Sally Zachariah. is

entitled to recover:

a) for her net loss of wages to the date of trial?
s_ 40,000
b) for emotional pain and mental anguish?

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C. Regarding Plaintiff Dr, Claudia Cote:

Do you find from a preponderance of the evidence:
I. On the retaliation claim of Dr. Cote. that an adverse employment action or
actions occurred that were causally related to the Plaintiffs statutorily protected

activities?

Answer Yes or No UY as

If you answered No to 1, please skip to 4. If you answered Yes to 1, please answer 2.
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2. That the Defendant would have taken the adverse employment action or actions
for other reasons even in the absence of the Plaintiff's statutorily protected activity?

Answer Yes or No VO

Ifyou answered Yes to 2, please skip to 4. If you answered No to 2, please answer 3.

3. That the Plaintiff suffered damages which were a proximate or legal result of the

adverse employment action or actions?

Answer Yes or No Y es

If you answered Yes to 3, you will address the matter of damages in question 11 below after you
have answered the questions regarding Dr. Cote’s remaining claims.

Please answer question 4.

Do you find from a preponderance of the evidence:
4, On the retaliatory hostile work environment claim of Dr. Cote. was the Plaintiff
subjected to a hostile or abusive work environment because she engaged in good faith in

statutorily protected EEO activity?

Answer Yes or No Us

Ifyou answered No to 4, please skip to 7. If you answered Yes to 4, please answer 3.
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5. That such hostile or abusive work environment was created or permitted by a

supervisor with immediate or successively higher authority over the Plaintiff?

Answer Yes or No Us ¢

If you answered No to 5, please skip to 7. If you answered Yes to 5, please answer 6.

6. That the Plaintiff suffered damages as a proximate or legal result of such hostile

or abusive work environment?

Answer Yes or No Y ¢ \

Ifyou answered Yes to 6, you will address the matter of damages in question 11 below after you
have answered the questions regarding Dr. Cote ’s remaining claim.

Please answer question 7.

Do you find from a preponderance of the evidence:
7. On the gender discrimination claim of Dr. Cote, that the Plaintiff was denied a

promotional opportunity by the Defendant?

Answer Yes or No lA OD

If you answered Yes to 7, please answer 8.
If you answered No to 7, you need not answer 8, 9, 10 or 11 on this claim. However, if you
answered Yes to 3 or 6 above, you will address the matter of damages in question 11.

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8. That the Plaintiff's gender was a substantial or motivating factor that prompted
the Defendant to take that action?

Answer Yes or No \

If you answered Yes to 8, please answer 9.
If you answered No to 8, you need not answer 9, 10 or 11 on this claim. However, ifyou
answered Yes to 3 or 6 above, you will address the matter of damages in question 11 below.

9. That the Plaintiff would have been denied the promotional opportunity for other
reasons even in the absence of consideration of the Plaintiff's gender?

Answer Yes or No \

If you answered No to 9, please answer 10.
If you answered Yes to 9, you need not answer 10 or I] on this claim. However, if you answered

Yes to 3 or 6 above, you will address the matter of damages in question 11 below.

10. That the Plaintiff suffered damages which were a proximate or legal result of the

denial of the promotional opportunity?

Answer Yes or No \

If you answered Yes to 3, 6, or 10, please answer 11. Otherwise. please skip to section D.

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11. What amount of damages, if any, do you find that Plaintiff, Dr. Claudia Cote. is

entitled to recover:

a) for her net loss of wages to the date of trial?
s_ ¥0,000
b) for emotional pain and mental anguish?

s_ 2,000,000

 

D. Regarding Plaintiff Roxanne Lainhart Bronner:
Do you find from a preponderance of the evidence:
1. On the retaliation claim of Roxanne Lainhart Bronner. that an adverse
employment action or actions occurred that were causally related to the Plaintiff s

statutorily protected activities?

Answer Yes or No Ye y

If you answered No to I, please skip to 4. If you answered Yes to 1, please answer 2.
2. That the Defendant would have taken the adverse employment action or actions
for other reasons even in the absence of the Plaintiffs statutorily protected activity?

Answer Yes or No (A O

If you answered Yes to 2, please skip to 4. If you answered No to 2, please answer 3.
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3. That the Plaintiff suffered damages which were a proximate or legal result of the

adverse employment action or actions?

Answer Yes or No U q 8

If you answered Yes to 3, you will address the matter of damages in question 7 below after you
have answered the questions regarding Roxanne Lainhart Bronner's remaining claim.

Please answer question 4.

Do you find from a preponderance of the evidence:
4, On the retaliatory hostile work environment claim of Roxanne Lainhart

Bronner, was the Plaintiff subjected to a hostile or abusive work environment because she

engaged in good faith in statutorily protected EEO activity?

Answer Yes or No Y Q §

Ifyou answered Yes to 4, please answer 5.
If you answered No to 4, you need not answer 5, 6 and 7 on this claim.
However, if you answered Yes to 3, you will address the matter of damages in question 7.

5. That such hostile or abusive work environment was created or permitted by a

supervisor with immediate or successively higher authority over the Plaintiff?

Answer Yes or No Ue ¢

If you answered Yes to 5, please answer 6. If you answered No to 3, you need not answer 6 or
7. However, if you answered Yes to 3, you will address the matter of damages in question 7.
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6. That the Plaintiff suffered damages as a proximate or legal result of such hostile

or abusive work environment?

Answer Yes or No | Jes

If you answered Yes to 3 or 6, please answer question 7. Otherwise, your

foreperson should date
and sign the verdict.

7. What amount of damages, if any, do you find that Plaintiff, Roxanne Lainhart

Bronner, is entitled to recover:

a) to compensate her for emotional pain and mental anguish?

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